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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

CREATIVE IMPACT INC.;

CREATIVE IMPACT (HONG KONG) LIMITED;
ZURU LLC; and

ZURU INC.,

Case No.: 19-cv-3077

Judge Charles R. Norgle
Plaintiffs,

V.

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

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Defendants.

PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs CREATIVE
IMPACT INC., CREATIVE IMPACT (HONG KONG) LIMITED, ZURU LLC, ZURU INC., hereby

dismiss with prejudice all causes of action in the complaint against the following Defendants identified in

Schedule A. Each party shall bear its own attorney’s fees and costs.

No. Defendant

49 antelifewill

80 Bellebuy

93 Bigboxsaveline

103 BODY ART TATTOO
129  — candymicwell

184 Dealmore

194 _— digitalcarts

198 Discount World 2014
216 — Easycart

249 fengwenjing1215

The respective Defendants have not filed an answer to the complaint or a motion for summary

judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is

appropriate.
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Dated: August 1, 2019

Respectfully submitted,

By:

s/Michael A. Hierl

Michael A. Hierl (Bar No. 3128021)
William B. Kalbac (Bar No. 6301771)
Hughes Socol Piers Resnick & Dym, Ltd.
Three First National Plaza

70 W. Madison Street, Suite 4000
Chicago, Illinois 60602

(312) 580-0100 Telephone

mhierl@hsplegal.com

Attorneys for Plaintiffs

CREATIVE IMPACT INC.,

CREATIVE IMPACT (HONG KONG) LIMITED,
ZURU LLC,

ZURU INC.
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CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of

Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on August 1, 2019.

s/Michael A. Hierl

 
